        Case 1:20-cv-00215-SWS Document 219 Filed 12/22/22 Page 1 of 1



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                             IN THE UNITED STATES DISTRICT COURT-
                                 FOR THE DISTRICT OF WYOMING



 ANDREW SCAVUZZO and H.I., as Parent and                          Case No. 1:20-CV-00215-SWS
 Next Friend of T.I., on behalf of themselves and all
 similarly situated persons,

           PLAINTIFFS,
 v.



 TRIANGLE        CROSS RANCH,           LLC, a                    ORDER OF DISMISSAL AS TO
 Wyoming            limited              liability                   DEFENDANT SOCIETY OF
 corporation;         GERALD                    E.                   OUR LADY OF THE MOST
 SCHNEIDER; iMICHAELEEN      P.                                       HOLY TRINITY ONLY
 SCHNEIDER;   MATHEW SCHNEIDER;
 MARK SCHNEIDER; THOMAS GEORGE;
 and the SOCIETY OF OUR LADY OF THE
 MOST HOLY TRINITY, a Texas corporation;


           DEFENDANTS.



        Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure 41(a)(1)(h), it is

ordered that the herein action is hereby dismissed with prejudice as to all claims and causes of action

against Defendant Society of Our Lady of the Most Holy Trinity only, with each party bearing its own

attorney's fees and costs.

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        Dated this &^ day ofDecember, 2022.
                                                 IT IS SO ORDERED:




                                                          Skavdahl
                                                 UnitedStates District Judge

Prepared and Submitted by:                                             Approved as to Form and Content:
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